                                      Case 24-13110-LMI                   Doc 24             Filed 06/07/24      Page 1 of 2
                                       UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                            wvvw.nsb.uscourts.gov
                                                        CHAPTER 13 PLAN Ondividual Adjustment of Debts^
                                □                                              Original Plan
                                [D First                                       Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                                □                                              Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Stefano Ferrari                                       JOINT DEBTOR: Ayrobis Marquetti Torres               CASE NO.: 24-13110-LMI

     SS#: xxx-xx- 7710                                               SS#: xxx-xx-6757
     I.           NOTICES

                  To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                       modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                       Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                       the chapter 13 petition or within 30 days of entiy of the order converting the case to chapter 13.
                  To Creditors:           Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                          be reduced, modified or eliminated.
                  To All Parties:      The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                        on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                        r~1     Included         (3 Not included
          partial payment or no payment at all to the secured creditor
          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
          out In Section III
                                                                                                                        I   I   Included         [i] Not included
      Nonstandard provisions, set out in Section IX                                                                     [■]     Included         n   Not included
    II.          PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfS)' ATTORNEY'S FEE


                 A.      MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                         1.     $145.06               for months     1    to 36      ;

                  B.    DEBTQRrS)' ATTORNEY'S FEE:                                             □ NONE    □ PRO BONO
              Total Fees:                 $5,200.00           Total Paid:                $1,500.00         Balance Due:             $3,700.00

               Payable _            $130.56           /month (Months _1_ to              )
               Payable _            $44.44            /month (Months 29 to 29 )
               Allowed fees under LR 20I6-1(B)(2) are itemized below:
               Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT Q_F_SECURED CLAIMS                            1] NONE
    IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                     1] NONE
    V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                           □ none
                       A. Pay         $86.11          /month (Months      29     to 29 )

                          Pay         $130.56         /month (Months 30           to 36 )

                          Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
                       B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                       C. SEPARATELY CLASSIFIED:                   H NONE
    VI.                                                    (1 NONE


LF-31 (rev. 04/01/22)                                                             Page I of2
                                        Case 24-13110-LMI               Doc 24          Filed 06/07/24           Page 2 of 2

                                                                           Ddilor{s); Slcllmo l^'olTa^^i. Ayrobis lVliiR|»cUi 'l'ono.s C;isc number: 24-I3110-LMl
VII.         EXECUTORY CONTRACTS AND UNCXPIRED LEASES                                       □ NONE
      Secured claims filed by any crcdiior/lessorgranleci slay reliefin this section shall not receive a distribution from the Chapter 13 Trustee.
                            Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic slay be
                            terminated in rem as to the debtor(s) and in rem and in personam as to any codcbior(s) as to these crcditors/lessors. Notliing
                            herein is intended to terminate or abrogate the deblor(s)' state law contract rights.

                   Name of Creditor                        Collateral                             Acet. No. (Last 4 Digits'! Assume/Reiect

                   1. & L Total Realty LLC                 2925 SE 16 AVE UNIT 100.               7710
                                                           Homestead FL 33035                                                   [■] .Assume Q Reject
VIII.        INCOME TAX RETURNS AND REFUNDS:

                    [■] The debtorfs) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(0 1-^ o'l tin
                            annual basis during the pendency of this case. The debtorfs) hereby acknowledges that the deadline for providing the
                            Trustee wdlh their Hied (ax returns is on or before May 15 of each year (he case is pending and that the deblor(s) shall
                            provide the trustee (but not Hie with the Court) with verification of their disposable income if their gross household income
                            increases by more than 3% over the previous year’s income. I’Miami cases]
IX.          NON-STANDARD PLAN PROVISION.S □ NONE
            [■] Nonstandard provisions must be set forth below. ,A nonstandard provision is a provision not otlierwise included in the Local
                    Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                   Confirmation of the plan sliall not bar Debtor's counsel from llling an A[>plication for Compensation for any work performed
                   before confirmation.

            Q       .Mortgage Modification Mediation


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEB'I ORfS) UPON PLAN CONFIRMA’l ION.

   I declar^lhal the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                 Debtor     (B/CC/2A                                                       .loint Debtor

  Slefano Eerrari                                                 Dale-
                                                                                        .Ayrobis MafrtiucUi Torres



  /s/ Jose A. Blanco. Esq.
                                                                 Date
      Attorney with permission to sign on
       Dcbtor(s)' behalf who certifies that
       the contents of the plan liave been
         reviewed and approved by the
                          Dcbior(s).'

   By filing (his document, the Attorney for l)ebtor(.s) or Delnor(s), if not re[)resente(i by counsel, certifies that (he wording and
   order of the (trovisions in this Chapter 13 |)lan are identical to those contained in Local Fonn Chapter 13 Plan and the plan
   contains no nonstandard [)rovisions other than those set out in paragraph l.X.




*This certification requirement applies even if the Debtorfs) have executed a limited power of attorney to Dcbtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




I.F-31 (rev. 04;t)l/22)                                                       l>:ii!e2or:
